     Case 5:20-cv-00362-PRL Document 28 Filed 10/13/21 Page 1 of 2 PageID 806




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       OCALA DIVISION

RACHEL JACKSON, on behalf of
D.J.D., her child

        Plaintiff,

v.                                                                      Case No: 5:20-cv-362-PRL

COMMISSIONER OF SOCIAL
SECURITY,

        Defendant.


                                              ORDER

        This matter is before the Court on Plaintiff’s unopposed Motion for Attorney’s Fees.

(Doc. 27). Pursuant to the Equal Access to Justice Act (“EAJA”), 28 U.S.C. §2412(d),

Plaintiff requests an award of fees in the amount of $6,626.73. Plaintiff also provides an

incorporated schedule of hours that confirms the attorney hours. (Doc. 27). Plaintiff

represents that the Commissioner has no objection to the motion.

        Plaintiff asserts that she is the prevailing party in this litigation, that the

Commissioner’s position in the underlying action was not substantially justified and that her

net worth at the time the proceeding was filed was less than two million dollars.1 (Doc. 27).

Previously, the Court entered an Order reversing and remanding this cause back to the




        1
          Under the EAJA, a claimant is eligible for an attorney fee award where: (1) the claimant is
a prevailing party in a non-tort suit involving the United States; (2) the Government’s position was
not substantially justified; (3) the claimant filed a timely application for attorney’s fees; (4) the
claimant had a net worth of less than $2 million at the time the complaint was filed; and (5) there are
no special circumstances which would make the award of fees unjust. 28 U.S.C. § 2412(d).
  Case 5:20-cv-00362-PRL Document 28 Filed 10/13/21 Page 2 of 2 PageID 807




Commissioner for further proceedings pursuant to sentence four of 42 U.S.C. § 405(g). (Doc.

25). The Clerk entered Judgment accordingly. (Doc. 26).

       Plaintiff has assigned any fee under the EAJA to Plaintiff’s attorney. (Doc. 27-1). In

light of the assignment, Plaintiff requests that the payment should be made payable to Plaintiff

and delivered to Plaintiff’s counsel unless Plaintiff owes a federal debt. If the U.S. Department

of the Treasury determines that Plaintiff does not owe a federal debt, the government will

accept Plaintiff’s assignment of EAJA fees and pay fees directly to Plaintiff’s counsel.

       Pursuant to the provisions of the Equal Access to Justice Act (28 U.S.C. §2412(d)),

Plaintiff’s petition for attorney’s fees (Doc. 27) is hereby GRANTED. Plaintiff is awarded

attorney’s fees in the amount of $6,626.73. Payment is authorized to Plaintiff’s counsel if the

Commissioner determines Plaintiff does not owe a debt to the government.

       DONE and ORDERED in Ocala, Florida on October 13, 2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




                                              -2-
